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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

  

Fill in this information to identify your case:

 
    

 

          

 

   

Debtor | Melvin Lyons, Jr.

First Name Middle Name Last Name
Debtor 2 Brenda Lee Lyons [J Check if this is an amended plan.
(Spouse, if filing) First Name Middle Name Last Name

   
 
 

     

Case number 19-10707

(If known)

   

 

Chapter 13 Plan and Motion

[Pursuant to Fed, R. Bankr. P. 3015.1, the Southern District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113].

1. Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following items. If an item
is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be ineffective if set out in
the plan,

(a) This [¥] contains nonstandard provisions. See paragraph 15 below.
plan: [_] does not contain nonstandard provisions.

(b) This [¥] values the claim(s) that secures collateral. See paragraph 4(f) below.
plan: CT] does not value claim(s) that secures collateral.

(c) This [iW] sceks to avoid a lien or securily interest. See paragraph 8 below.
plan: [1 does not seek to avoid a lien or security interest.

2. Plan Payments.

(a) The Debtor(s) shall pay to the Chapter 13 Trustee (the “Trustee”) the sum of $1,466.00 for the applicable commitment period of:

[_] 60 months: or
[¥] a minimum of 36 months. See 11 U.S.C, § 1325(b)\(4).

(If applicable include the following: These plan payments will change to $ monthly on :}

(b) The payments under paragraph 2(a) shall be paid:

[J Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s) upon the
Debtor's(s') emplover(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the Debtor's(s')
employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following percentages of the
monthly plan payment:

[J Debtor | % [7] Debtor 2 %

[¥] Direct to the Trustee for the following reason(s):
[¥] The Debtor(s) receive(s) income solely from self-employment. Social Security. government assistance. or
retirement.
[_] The Debtor(s) assert(s) that wage withholding is not feasible for the follow ing reason(s):

 

(c) Additional Payments of $0 (estimated amount) will be made on ,__ (anticipated date) from (source, including income tax
refunds).
3. Long-Term Debt Payments.

(a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as follows on the
following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be disbursed by either the Trustee or
directly by the Debtor(s), as specified below. Postpetition payments are to be applied to postpetition amounts owed for principal.
interest. authorized postpetition late charges and escrow, if applicable, Conduit payments that are to be made by the Trustee which

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Brenda Lee Lyons

 

become due after the filing of the petition but before the month of the first payment designated here will be added to the prepetition
arrearage claim,

PAYMENTS TO

 

 

 

 

 

MADE BY INITIAL
PRINCIPAL (TRUSTEE OR MONTH OF FIRST POSTPETITION | MONTHLY
CREDITOR = COLLATERAL — RESIDENCE (Y/N) DEBTOR(S)) PAYMENT TO CREDITOR PAYMENT
-NONE-

(b) Cure of Arrearage on Long-Term Debt. Pursuant to 1] U.S.C. § 1322(b)(5). prepetition arrearage claims will be paid in full through
disbursements by the Trustee. with interest (if any) at the rate stated below. Prepetition alrearage payments are to be applied to
prepetition amounts owed as evidenced by the allowed claim.

INTEREST RATE ON
DESCRIPTION OF PRINCIPAL RESIDENCE ESTIMATED AMOUNT — ARREARAGE (if
CREDITOR COLLATERAL (Y/N) OF ARREARAGE applicable)
-NONE-
4. Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated otherwise:

(a) Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.

(b) Attorney’s Fees. Attorney's fees allowed pursuant to 11 U.S.C, § $07(a}(2) of $4,500.00.

(c) Priority Claims, Other 11 U.S.C. § 507 claims. unless provided for otherwise in the plan will be paid in full over the life of the

plan as funds become available in the order specified by law.

(d) Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below,

DESCRIPTION OF
CREDITOR COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT
-NONE-
(e) Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of H U.S.C. § 1325(a)).
The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within 1 year of the petition date
and secured by a purchase money security interest in any other thing of value. These claims will be paid in full under the plan
with interest at the rate stated below:
DESCRIPTION OF
CREDITOR COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT
Georgia Finco 2015 Hyundai Elantra 13,795.00 5.00% 100.00
Holding/ABC Loan 126439 miles
OneMain Financial 2012 Chevy Silverado 15,645.00 6.00% 100.00
LT 130000 miles
Regional Acceptance 2016 Dodge Grand 19,423.00 5.00% 100.00
Caravan 92709 miles
(t) Valuation of Secured Claims to Which II U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims partially
secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a certificate of
service.
DESCRIPTION OF VALUATION OF
CREDITOR COLLATERAL SECURED CLAIM INTEREST RATE MONTHLY PAYMENT
Acima Credit All Collateral 3,281.00 5.00% 25.00
Acima Credit All Collateral 1,777.00 5.00% 25.00
Conns All Collateral 2,897.00 5.00% 25.00
Household Rentals All Collateral 500.00 4.00% 25.00
(gz) Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%

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Debtor Melvin Lyons, Jr. Case number 19-10707
Brenda Lee Lyons
[_] with interest at % per annum: or[_] without interest:
None
(hy General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims

provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a 100.00% dividend or a pro rata share of $1,000.00.
whichever is greater.

5; Executory Contracts.
(a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

DESCRIPTION OF

PROPERTY/SERVICES DISBURSED BY

 

 

CREDITOR AND CONTRACT ASSUMED/REJECTED MONTHLY PAYMENT TRUSTEE OR DEBTORS
-NONE-
(b) Treatment of Arrearages, Prepetition arrearage claims will be paid in full through disbursements by the Trustee.
CREDITOR ESTIMATED ARREARAGE
-NONE-
6. Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments pursuant to 1] U.S.C.

§ 1326(a)(1) on allowed claims of the following creditors: [7] Direct to the Creditor: or [7] To the Trustee

 

CREDITOR ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
-NONE-
7, Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of such claim

identified here. See 1] U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C, § 1302(d) to the following
claimant(s):

CLAIMANT ADDRESS
-NONE-

8. Lien Avoidance. Pursuant to [1 U.S.C. § 522(f). the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the follow ing
creditor(s). upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan shall be served on all
affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d). and the Debtor(s) shall attach a certificate of service.

 

CREDITOR LIEN IDENTIFICATION (if known) PROPERTY

Empire Loan All Collateral

Regional Finance #14 All Collateral

Security Finance All Collateral

Southern Finance/smc All Collateral

Tabb Finance Company All Collateral

Western Shamrock Corporation All Collateral

World Acceptance/Finance Corp All Collateral

9: Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below

upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated
as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed deficiency balance resulting
from a creditor's disposition of the collateral will be treated as an unsecured claim in paragraph 4(h) of this plan if the creditor amends its
previously-filed. timely claim within 180 days from entry of the order confirming this plan or by such additional time as the creditor may
be granted upon motion filed within that [80-day period,

CREDITOR DESCRIPTION OF COLLATERAL AMOUNT OF CLAIM SATISFIED
Santander Consumer USA All Collateral Full Satisfaction of the Debt.

10. Retention of Liens, Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by] U.S.C §
1325(a)(5).

Il. Amounts of Claims and Claim Objections. The amount, and secured or unsecured status. of claims disclosed in this plan are based upon
the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated claims. In accordance with the
Bankruptcy Code and Federal Rules of Bankruptcy Procedure objections to claims may be filed before or after confirmation.

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Brenda Lee Lyons

 

12. Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes.after
notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

13: Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses. or charges disclosed by a creditor pursuant
to Fed. R. Bankr. P. 3002.1(c) unless the Debtor's(s') plan is modified after the filing of the notice to provide for payment of such fees.
expenses, or charges.

14. Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3. the Debtor(s) shall serve the Chapter 13 plan on the
Trustee and all creditors when the plan is filed with the court. and file a certificate of service accordingly. If the Debtor(s) seek(s) to limit
the amount of a secured claim based on valuation of collateral (paragraph 4(f) above). seek(s) 10 avoid a security interest or lien (paragraph
8 above), or seek(s) to initiate a contested matter. the Debtor(s) must serve the plan on the affected creditors pursuant to Fed. R. Bankr. P.
7004, See Fed. R. Bankr. P. 3012(b), 4003(d). and 9014.

15. Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c). nonstandard provisions must be set forth below. A nonstandard provision is a
p
provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

Provided there is no demand by the mortgage holder(s) for payment of pre-petition debt, the Debtor(s) shall not consider it
to be a violation of the automatic stay for Debtor's (Debtors') mortgage holder(s) to send regular monthly mortgage account
statements, coupon books, notice of payment and/or escrow changes or outher such notices as the mortgage holder(s) may
send in the normal course of business with respect to any post-petition payments and/or obligations of the Debtor(s).
Debtor(s) further request the mortgage holder(s) allow the Debtor(s) to pay all post-petition mortgage payments by check,
electronic funds transfers (ETFs), telephonic payments, money orders, Western Union or any other manner acceptable to the

mortgage holder(s).

By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15,

Dated: June 3, 2019 /s/ Melvin Lyons, Jr.
Melvin Lyons, Jr.
Debtor |

/s! Brenda Lee Lyons

Brenda Lee Lyons
Debtor 2

ls! D. Clay Ward
D. Clay Ward 736770
Attorney for the Debtor(s)

GASB - Form 113 December |. 2017

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: )
Melvin Lyons, Jr., ) CASE NO.: 19-10707
Brenda Lee Lyons, )
Debtors. )

CERTIFICATE OF SERVICE OF CHAPTER 13 PLAN

| hereby certify that I have this day served upon the following parties a copy of the
foregoing Chapter 13 plan by First Class Mail placing the same in United States Mail
with proper postage affixed thereon to the following addresses:

See matrix attached as Exhibit 1.

I hereby certify that ] have this day served a copy of the foregoing Chapter 13 plan
upon the following corporations addressed to an Agent or Officer by First Class Mail
placing the same in United States Mail with proper postage affixed thereon:

VIA CERTIFIED MAIL VIA CERTIFIED MAIL

Georgia Finco Holding/ABC Loan OneMain Financial

c/o Officer or Agent for Service c/o Officer or Agent for Service
4010 Columbia Road 601 Nw 2"4 Street

Martinez, GA 30907 Evansville, IN 47708-1013

VIA CERTIFIED MAIL

Regional Acceptance

c/o Officer or Agent for Service
1424 E. Firetower Road
Greenville, SC 27858-4105

| hereby certify that | have this day served a copy of the foregoing Chapter 13 plan
upon the following creditors in the manner proscribed by Rule 7004, as the Chapter
13 plan proposes to modify/alter/avoid their secured status pursuant to paragraph
4(f) or paragraph 8 of the plan:

VIA CERTIFIED MAIL VIA CERTIFIED MAIL

Acima Credit Conns

c/o Officer or Agent for Service c/o Officer or Agent for Service
9815 Monroe Street, 4 Floor PO Box 815867

Sandy, UT 84070-4384 Dallas, TX 75381-5867

VIA CERTIFIED MAIL VIA CERTIFIED MAIL
Household Rentals Empire Loan

c/o Officer or Agent for Service c/o Officer or Agent for Service
363 S. Belair Road 1944 Walton Way, Ste J

Augusta, GA 30907=8837 Augusta, GA 30904-6711
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VIA CERTIFIED MAIL

Georgia Finco Holding/ABC Loan
c/o Officer or Agent for Service
4010 Columbia Road

Martinez, GA 30907

VIA CERTIFIED MAIL

Security Finance

c/o Officer or Agent for Service
PO Box 1893

Spartanburg, SC 29304-1893
VIA CERTIFIED MAIL

Tabb Finance

c/o Officer or Agent for Service
2505 Peach Orchard Road
Augusta, GA 30906

VIA CERTIFIED MAIL

World Acceptance/Finance Corp
c/o Officer or Agent for Service
PO Box 6429

Greenville, SC 29606-6429

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VIA CERTIFIED MAIL

Regional Finance #14

c/o Officer or Agent for Service
404 E. Martintown Road

N. Augusta, SC 29841-4250
VIA CERTIFIED MAIL

Southern Finance/smc

c/o Officer or Agent for Service
150 Executive Center Drive
Greenville, SC 29615-4505

VIA CERTIFIED MAIL

Western Shamrock Corporation
c/o Officer or Agent for Service
801 South Abe Street

San Angelo, TX 76903-6735

I hereby certify that ] have this day electronically served the following parties and

counsel via CM/ECF:
N/A

This 5" day of June, 2019.

/s/ D. Clay Ward

D. Clay Ward

Ward and Spires, LLC
445 Walker Street
Augusta, GA 30901
706-724-2640
Case:19-10707-SDB

Label Matrix for local noticing
113J-1

Case 19-10707-SDB

Southern District of Georgia
Augusta

Wed Jun 5 14:35:08 EDT 2019

Capio Partners LLC
Attn; Bankruptcy

Po Box 3498

Sherman TX 75091-3498

 

Dallas’ TX 75381-5867

Doctor's Hospital
PO Box 740013
Louisville KY 40201-7413

GRU College of Dental Medicine
1430 John Wesley Gilbert Drive
6C1001

Augusta GA 30912-0001

 
 
  

Household Aentals
lair Road
Augusza GA 30907-8837

Huon Le
P.O, Box 2127
Augusta, GA 30903-2127

 

OneMain Financial
Attn: Bankruptcy
601 Nw 2nd Street
Evansville IN 47708-1013

 
 

404 E. Mar¥intown Road
North Augusta SC 29841-4250

Acima Credit
9815 Monro@ Street

 

Sandy AT 84070-4384

Comcast
105 Rivershoals Parkway
Augusta GA 30909-0235

  
 

D. Clay Wayd

Ward and Apires, LLC
PO Box 7493

Augusa, GA 30903-1493

 

Attn: Bankruptcy
1944 Malton Way Ste J
Augdsta GA 30904-6711

(p)GEORGIA DEPARTMENT OF REVENUE
COMPLIANCE DIVISION

ARCS BANKRUPTCY

1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202

(p) JEFFERSON ENERGY COOPERATIVE
ATTN PAULA KELLEY

PO BOX 457

WRENS GA 30833-0457

Brenda Lee Lyons
126 Bennocy Mill Road
A 30906-8703

 

Midnight Velvet
Attn: Bankruptcy
1112 7th Avenue
Monroe WI 53566-1364

REGIONAL MANAGEMENT CORP
979 BATESVILLE RD., SUITE B
GREER, SC 29651-6819

Santander Consumer USA
Attn: Bankruptcy

Po Box 961245

Fort Worth TX 76161-0244

EXHIBIT 1

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Allied Collection Services

Attn: Bankruptcy

3080 South Durango Drive Suite 208
Las Vegas NV 89117-9194

Commonwealth Financial Systems
Attn: Bankruptcy

245 Main Street

Dickson City PA 18519-1641

Dish Network
Dept 0063
Palatine IL 60055-0001

First Premier Bank

Attn: Bankruptcy

Po Box 5524

Sioux Falls $D 57117-5524

 

Georgia Fjeico Holding/ABC Loan
4010 CovGmbia Road
Martivez GA 30907

Jrs Financial, Inc.
5 Dunwoody Park
Atlanta GA 30338-7406

Melvin Lygns JR.
726 Benglock Mill Road
Augusva, GA 30906-8703

 

Office of the U. $. Trustee
Johnson Square Business Center
2 East Bryan Street, Ste 725
Savannah, GA 31401-2638

 

1424 EAiretower Rd
Greenville NC 27858-4105

Security Fynance

Attn: Bandruptcy

Po Box 2893

Spartanburg SC 29304-1893

 
  
 

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Source Receivables Mgmt, Lle Southern Family Medical Center Southern Fingfice/smc
Attn: Bankruptcy Dept 3736 Mike Padgett Highway 150 Executive Center Drive
4615 Dundas Dr., Suite 102 Augusta GA 30906-0719 Greenville’ SC 29615-4505

Greensboro NC 27407-1761

(p) SPRINT NEXTEL CORRESPONDENCE (p)T MOBILE (p) UNIVERSITY HEALTH SERVICES INC
ATTN BANKRUPTCY DEP? C 0 AMERICAN INFOSOURCE LP ATTN COLLECTIONS DIVISION

PO BOX 7949 4515 N SANTA FE AVE 620 THIRTEENTH ST

OVERLAND PARK KS 66207-0949 OKLAHOMA CITY OK 73118-7901 AUGUSTA GA 30901-1008

Verizon Wireless

Attn; Bankruptcy Department
1515 Woodfield Road
Schaumburg IL 60173-6046 Augusta, GA 30903-1493

  

 
 
 

World Accept ghce/Finance Corp no name pf CR Liability
Attn: Bankyiptcy
Po Box 6429

Greenville SC 29606-6429

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

 
   
 

Georgia Department of Revenue Jeffergon Energy Cooperative s
PO Box 161108 PO 457

Bankruptcy Depaytment Wréns GA 30833
Atlanta GA 39821

   

  
 
 
 

rol Stream IL 60197-4191

T-Nobile Univergity Hospital
PO Box 742556

Cincin

 

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)Tabb/Finance Company
40

1
41

 

EXHIBIT 1
